                  Case 2:13-cr-00067-RAH-KFP Document 364 Filed 04/25/24 Page 1 of 1
AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Middle District
                                                      __________        of of
                                                                 District  Alabama
                                                                              __________

                    United States of America
                               v.                                           )
                            Tarrish Tellis                                  )
                                                                            )   Case No: 2:13cr067-RAH-01
                                                                            )   USM No: 14463-002
Date of Original Judgment:                            04/15/2015            )
Date of Previous Amended Judgment:                                          )   Mitchell McGuire
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)


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Except as otherwise provided, all provisions of the judgment dated                                                  shall remain in effect.
IT IS SO ORDERED.

Order Date:                  04/25/2024
                                                                                                         Judge’s si
                                                                                                                 signature
                                                                                                                  ign
                                                                                                                    g ature


Effective Date:                                                                      R. Austin Huffaker, Jr., U.S. District Judge
                     (if different from order date)                                                    Printed name and title
